                                 UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF ARIZONA


  In re:                                            §    Case No. 0:10-BK-24374-EPB
                                                    §
  GREGG SETH REICHMAN                               §
                                                    §
                                                    §
                      Debtor(s)                     §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Lawrence J. Warfield, chapter 7 trustee, submits this Final Account, Certification that
  the Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $485,713.00               Assets Exempt:      $0.00
(without deducting any secured claims)



Total Distributions to                                  Claims Discharged
Claimants:                        $0.00                 Without Payment:    $34,936,416.79

Total Expenses of
Administration:                   $1,617.92


        3)      Total gross receipts of $2,745.59 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $1,127.67 (see Exhibit 2), yielded net receipts of $1,617.92 from
the liquidation of the property of the estate, which was distributed as follows:




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                                   CLAIMS                 CLAIMS          CLAIMS           CLAIMS
                                 SCHEDULED               ASSERTED        ALLOWED            PAID
  Secured Claims
  (from Exhibit 3)                 $3,331,838.00           $20,764.88           $0.00            $0.00
  Priority Claims:
      Chapter 7 Admin
      Fees and Charges                         NA           $5,046.85       $5,046.85        $1,617.92
       (from Exhibit 4)
      Prior Chapter
      Admin Fees and                           NA               $0.00           $0.00            $0.00
      Charges (from
      Exhibit 5)
      Priority Unsecured
      Claims                                $0.00         $248,055.74     $248,055.74            $0.00
      (From Exhibit 6)
  General Unsecured
  Claims (from Exhibit            $38,542,604.83         $12,563,361.0   $12,563,361.0           $0.00
  7)                                                                 5               5
  Total Disbursements
                                  $41,874,442.83         $12,837,228.5   $12,816,463.6       $1,617.92
                                                                     2               4

        4). This case was originally filed under chapter 7 on 08/03/2010. The case was pending
  for -1327 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 07/16/2013                            By: /s/ Lawrence J. Warfield
                                                      /La Trustee
                                                      wre
                                                      nce
                                                      J.
                                                      Wa
                                                      rfiel
  STATEMENT: This Uniform Form is associated with an open
                                                      d bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                 EXHIBITS TO
                                                FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                          DESCRIPTION                                    UNIFORM                           AMOUNT
                                                                        TRAN.CODE                         RECEIVED
2010 FEDERAL TAX REFUND                                                   1224-000                         $2,744.00
Interest Earned                                                           1270-000                                $1.59
TOTAL GROSS RECEIPTS                                                                                       $2,745.59

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                  PAYEE                              DESCRIPTION                           UNIFORM         AMOUNT
                                                                                          TRAN.CODE           PAID
GREGG SETH REICHMAN                     Funds to Third Parties                             8500-002        $1,127.67
TOTAL FUNDS PAID TO                                                                                        $1,127.67
DEBTOR AND THIRD PARTIES


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM            CLAIMANT         UNIFORM              CLAIMS            CLAIMS            CLAIMS         CLAIMS
NUMBER                            TRAN. CODE          SCHEDULED          ASSERTED          ALLOWED           PAID
     3        Chase Auto             4110-000              $26,500.00       $20,764.88            $0.00           $0.00
              Finance
              BANK OF THE            4110-000             $118,000.00                NA           $0.00           $0.00
              WEST
              GENESIS                4110-000           $2,500,000.00                NA           $0.00           $0.00
              CAPITAL CORP
              JAN BEEKHUIS           4110-000             $350,000.00                NA           $0.00           $0.00
              TRUST
              U S BANK               4110-000             $337,338.00                NA           $0.00           $0.00
TOTAL SECURED CLAIMS                                    $3,331,838.00       $20,764.88            $0.00           $0.00


  EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

         PAYEE              UNIFORM                  CLAIMS   CLAIMS                    CLAIMS             CLAIMS
                           TRAN.CODE              SCHEDULED ASSERTED                  ALLOWED                PAID
Lawrence J. Warfield,        2100-000                         NA        $404.48            $404.48           $123.41
Trustee
Lawrence J. Warfield,        2200-000                         NA         $79.15             $79.15            $79.15
Trustee
Bank of Texas                2600-000                         NA         $33.22             $33.22            $33.22
TERRY A DAKE,                3210-000                         NA      $4,530.00           $4,530.00        $1,382.14
Attorney for Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                               NA      $5,046.85           $5,046.85        $1,617.92
CHARGES

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 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM          CLAIMANT          UNIFORM         CLAIMS            CLAIMS         CLAIMS       CLAIMS
NUMBER                           TRAN. CODE     SCHEDULED          ASSERTED       ALLOWED         PAID
     11       INTERNAL            5800-000               $0.00      $248,055.74   $248,055.74     $0.00
              REVENUE
              SERVICE
              ARIZONA             5800-000               $0.00             NA            NA       $0.00
              DEPARTMENT
              OF
              INTERNAL            5800-000               $0.00             NA            NA       $0.00
              REVENUE
              SERVICE
              INTERNAL            5800-000               $0.00             NA            NA       $0.00
              REVENUE
              SERVICE
TOTAL PRIORITY UNSECURED CLAIMS                          $0.00      $248,055.74   $248,055.74     $0.00


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM          CLAIMANT          UNIFORM         CLAIMS            CLAIMS         CLAIMS       CLAIMS
NUMBER                           TRAN. CODE     SCHEDULED          ASSERTED       ALLOWED         PAID
     1        WELLS FARGO         7100-000       $10,000,000.00 $8,718,000.00 $8,718,000.00       $0.00
              CAPITAL
              FINANCE, INC.
     2        G. JAN              7100-000        $2,500,000.00     $592,720.00   $592,720.00     $0.00
              BEEKHUIS
              TRUST
     4        Young & Susser,     7100-000          $40,000.00       $39,361.96    $39,361.96     $0.00
              P.C.
     5        American Express    7100-000           $4,000.00        $2,500.00     $2,500.00     $0.00
              Centurion Bank
     6        MAX AND             7100-000         $100,000.00      $100,000.00   $100,000.00     $0.00
              CAROL
              KOEPER
     7        US Bank N.A.        7100-000          $93,604.83       $46,715.00    $46,715.00     $0.00
     8        IAN S.              7100-000          $30,000.00       $23,882.78    $23,882.78     $0.00
              LANSBERG,
              ESQ.
     9        GREENBANK           7200-000        $3,500,000.00 $2,890,181.31 $2,890,181.31       $0.00
     10       STEVE COOK          7200-000         $150,000.00      $150,000.00   $150,000.00     $0.00
              ANDORRA             7100-000           $8,000.00             NA            NA       $0.00
              ASSOCIATION
              ANDREW              7100-000          $80,000.00             NA            NA       $0.00
              FOLLMER
              ARIZONA             7100-000          $80,000.00             NA            NA       $0.00

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              BUSINESS
              BANK
              ARIZONA            7100-000        $4,400,000.00           NA          NA       $0.00
              BUSINESS
              BANK
              CHAD NELSON        7100-000         $200,000.00            NA          NA       $0.00
              CHASE              7100-000          $80,000.00            NA          NA       $0.00
              MORTGAGE
              CHASE              7100-000          $90,000.00            NA          NA       $0.00
              MORTGAGE
              CMS PENSION        7100-000        $4,400,000.00           NA          NA       $0.00
              PLAN
              DANIEL &           7100-000         $100,000.00            NA          NA       $0.00
              LINDA
              KUNIHIRA
              DANIEL             7100-000         $540,000.00            NA          NA       $0.00
              KNOPPER
              DR. ALAN           7100-000         $250,000.00            NA          NA       $0.00
              MURRAY
              EQUITY TRUST       7100-000         $600,000.00            NA          NA       $0.00
              EXCESSIVE          7100-000          $50,000.00            NA          NA       $0.00
              ENTERPRISES
              FLASH & BOYS       7100-000        $2,250,000.00           NA          NA       $0.00
              LLC
              GARY WHITE         7100-000         $500,000.00            NA          NA       $0.00
              GENESIS            7100-000        $2,500,000.00           NA          NA       $0.00
              FINANCIAL
              SERVICES
              GFAH EQUITY        7100-000         $100,000.00            NA          NA       $0.00
              LENDING
              GSG                7100-000         $225,000.00            NA          NA       $0.00
              PROPERTIES,
              LLC
              JAN BEEKHUIS       7100-000        $1,000,000.00           NA          NA       $0.00
              TRUST
              JONATHAN           7100-000          $60,000.00            NA          NA       $0.00
              SACHS
              JORDAN             7100-000          $77,000.00            NA          NA       $0.00
              SACHS
              L&L                7100-000        $1,500,000.00           NA          NA       $0.00
              FINANCIAL
              GROUP
              LINDA GAIL         7100-000          $65,000.00            NA          NA       $0.00
              FINI
              LOIS               7100-000          $50,000.00            NA          NA       $0.00
              LINDGREN
              LOIS               7100-000          $64,000.00            NA          NA       $0.00
              LINDGREN
              PAMELA             7100-000         $775,000.00            NA          NA       $0.00
              FOLLMER


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              PERENNIAL          7100-000         $835,000.00           NA            NA      $0.00
              FUND
              (FINANCE 500)
              RICHARD            7100-000         $100,000.00           NA            NA      $0.00
              LINDGREN
              RICHARD            7100-000         $186,000.00           NA            NA      $0.00
              LINDGREN
              ROBINSON           7100-000         $250,000.00           NA            NA      $0.00
              FAMILY TRUST
              SEAN &             7100-000          $80,000.00           NA            NA      $0.00
              VLASTA
              DUFFY
              SHERYL             7100-000         $250,000.00           NA            NA      $0.00
              ULYATE
              STANTON            7100-000         $250,000.00           NA            NA      $0.00
              PERRY
              VIRGINIA           7100-000         $130,000.00           NA            NA      $0.00
              BATEMAN
TOTAL GENERAL UNSECURED CLAIMS                  $38,542,604.83 $12,563,361.0 $12,563,361.0    $0.00
                                                                           5             5




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                                                                                       FORM 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:    1                     Exhibit 8
                                                                                    ASSET CASES

Case No.:                      10-24374-YUM EPB                                                                                                   Trustee Name:                             Lawrence J. Warfield
Case Name:                     REICHMAN, GREGG SETH                                                                                               Date Filed (f) or Converted (c):          08/03/2010 (f)
For the Period Ending:         7/17/2013                                                                                                          §341(a) Meeting Date:                     09/21/2010
                                                                                                                                                  Claims Bar Date:                          01/03/2011

                                   1                                   2                                3                                 4                        5                                       6

                           Asset Description                         Petition/                   Estimated Net Value                   Property              Sales/Funds              Asset Fully Administered (FA)/
                            (Scheduled and                         Unscheduled                  (Value Determined by                 Abandoned               Received by             Gross Value of Remaining Assets
                       Unscheduled (u) Property)                      Value                            Trustee,                  OA =§ 554(a) abandon.        the Estate
                                                                                               Less Liens, Exemptions,
                                                                                                  and Other Costs)

 Ref. #
1       3085 GATEWOOD DRIVE LAKE HAVASU                               $367,338.00                                        $0.00                                          $0.00                                          FA
        CITY, AZ 86404
2       U.S. BANK                                                           $100.00                                      $0.00                                          $0.00                                          FA
3          VARIOUS HOUSEHOLD FURNITURE; 2                                  $1,500.00                                     $0.00                                          $0.00                                          FA
           FLAT PANEL TV'S; ON
4          VARIOUS CLOTHING                                                 $150.00                                      $0.00                                          $0.00                                          FA
5          WEIGHTS                                                          $200.00                                      $0.00                                          $0.00                                          FA
6          ACTIVE FINANCE GROUP LLC (INTEREST                                 $0.00                                      $0.00                                          $0.00                                          FA
           - 41%)
7          GSG PROPERTIES, LLC (INTEREST -                                    $0.00                                      $0.00                                          $0.00                                          FA
           25.05%)
8          TDJ, LLC (INTEREST - 90%)                                          $0.00                                      $0.00                                          $0.00                                          FA
9          ACTIVE FUNDING GROUP, LLC                                          $0.00                                      $0.00                                          $0.00                                          FA
           (INTEREST - 42.5%)
10         2007 DODGE TRUCK                                            $26,425.00                                        $0.00                                          $0.00                                          FA
11         BOAT - 1999 32 FT. DOUGLAS MARINE                           $90,000.00                                        $0.00                                          $0.00                                          FA
12         2010 FEDERAL TAX REFUND                           (u)              $0.00                               $2,744.00                                        $2,744.00                                           FA
INT        Interest Earned                                                 Unknown                                Unknown                                               $1.59                                          FA


TOTALS (Excluding unknown value)                                                                                                                                                         Gross Value of Remaining Assets
                                                                       $485,713.00                                $2,744.00                                         $2,745.59                                      $0.00




    Initial Projected Date Of Final Report (TFR):   10/12/2011                         Current Projected Date Of Final Report (TFR):          03/22/2013               /s/ LAWRENCE J. WARFIELD
                                                                                                                                                                       LAWRENCE J. WARFIELD
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                                                                                              FORM 2
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         10-24374-YUM EPB                                                                             Trustee Name:                         Lawrence J. Warfield
 Case Name:                       REICHMAN, GREGG SETH                                                                         Bank Name:                            Bank of Texas
Primary Taxpayer ID #:            ******7716                                                                                   Checking Acct #:                     ******9947
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                       DDA
For Period Beginning:             8/3/2010                                                                                     Blanket bond (per case limit):        $82,080,307.00
For Period Ending:                7/17/2013                                                                                    Separate bond (if applicable):

       1                2                                  3                                         4                                              5                   6                       7

   Transaction       Check /                             Paid to/            Description of Transaction                         Uniform           Deposit          Disbursement              Balance
      Date            Ref. #                          Received From                                                            Tran Code            $                   $


06/12/2012                     M&I Bank                               Transfer Funds                                           9999-000           $2,745.59                                         $2,745.59
07/16/2012                     Bank of Texas                          Account Analysis Fee                                     2600-000                                         $2.71            $2,742.88
08/14/2012                     Bank of Texas                          Account Analysis Fee                                     2600-000                                         $4.42            $2,738.46
09/17/2012                     Bank of Texas                          Account Analysis Fee                                     2600-000                                         $4.41            $2,734.05
10/15/2012                     Bank of Texas                          Account Analysis Fee                                     2600-000                                         $4.26            $2,729.79
11/15/2012                     Bank of Texas                          Account Analysis Fee                                     2600-000                                         $4.40            $2,725.39
12/14/2012                     Bank of Texas                          Account Analysis Fee                                     2600-000                                         $4.25            $2,721.14
01/16/2013                     Bank of Texas                          Account Analysis Fee                                     2600-000                                         $4.38            $2,716.76
02/14/2013                     Bank of Texas                          Account Analysis Fee                                     2600-000                                         $4.39            $2,712.37
02/18/2013           5001      GREGG SETH REICHMAN                    Return of Debtors Pro Rata                               8500-002                                     $1,127.67            $1,584.70
07/05/2013           5002      Lawrence J. Warfield                   Trustee Compensation                                     2100-000                                      $123.41             $1,461.29
07/05/2013           5003      Lawrence J. Warfield                   Trustee Expenses                                         2200-000                                        $79.15            $1,382.14
07/05/2013           5004      TERRY A DAKE                           Claim #: ; Amount Claimed: 4,530.00; Distribution        3210-000                                     $1,382.14                   $0.00
                                                                      Dividend: 30.51;




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                                                                                          Page 8 of 11                        SUBTOTALS            $2,745.59                $2,745.59
                                                                                                                                                                 Page No: 2                 Exhibit 9
                                                                                         FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          10-24374-YUM EPB                                                                             Trustee Name:                         Lawrence J. Warfield
Case Name:                        REICHMAN, GREGG SETH                                                                         Bank Name:                            Bank of Texas
Primary Taxpayer ID #:            ******7716                                                                                   Checking Acct #:                      ******9947
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                        DDA
For Period Beginning:             8/3/2010                                                                                     Blanket bond (per case limit):        $82,080,307.00
For Period Ending:                7/17/2013                                                                                    Separate bond (if applicable):

      1                 2                                3                                      4                                                     5                  6                      7

  Transaction        Check /                         Paid to/           Description of Transaction                              Uniform           Deposit          Disbursement              Balance
     Date             Ref. #                      Received From                                                                Tran Code            $                   $


                                                                                  TOTALS:                                                            $2,745.59               $2,745.59                  $0.00
                                                                                      Less: Bank transfers/CDs                                       $2,745.59                   $0.00
                                                                                  Subtotal                                                               $0.00               $2,745.59
                                                                                      Less: Payments to debtors                                          $0.00                   $0.00
                                                                                  Net                                                                    $0.00               $2,745.59



                     For the period of 8/3/2010 to 7/17/2013                                                For the entire history of the account between 06/12/2012 to 7/17/2013

                     Total Compensable Receipts:                       $0.00                                Total Compensable Receipts:                                     $0.00
                     Total Non-Compensable Receipts:                   $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                     $0.00                                Total Comp/Non Comp Receipts:                                   $0.00
                     Total Internal/Transfer Receipts:             $2,745.59                                Total Internal/Transfer Receipts:                           $2,745.59


                     Total Compensable Disbursements:              $1,617.92                                Total Compensable Disbursements:                            $1,617.92
                     Total Non-Compensable Disbursements:          $1,127.67                                Total Non-Compensable Disbursements:                        $1,127.67
                     Total Comp/Non Comp Disbursements:            $2,745.59                                Total Comp/Non Comp Disbursements:                          $2,745.59
                     Total Internal/Transfer Disbursements:            $0.00                                Total Internal/Transfer Disbursements:                          $0.00




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                                                                                          FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         10-24374-YUM EPB                                                                               Trustee Name:                           Lawrence J. Warfield
 Case Name:                       REICHMAN, GREGG SETH                                                                           Bank Name:                              M&I Bank
Primary Taxpayer ID #:            ******7716                                                                                     Money Market Acct #:                   ******9881
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                         Money Market Account
For Period Beginning:             8/3/2010                                                                                       Blanket bond (per case limit):          $82,080,307.00
For Period Ending:                7/17/2013                                                                                      Separate bond (if applicable):

       1                2                                3                                        4                                                      5                  6                       7

   Transaction       Check /                         Paid to/            Description of Transaction                               Uniform           Deposit            Disbursement              Balance
      Date            Ref. #                      Received From                                                                  Tran Code            $                     $


11/10/2011            (12)     REICHMAN, GREGG SETH                                                                               1224-000             $2,744.00                                        $2,744.00
11/30/2011           (INT)     M&I Bank                           INTEREST REC'D FROM BANK                                        1270-000                   $0.11                                      $2,744.11
12/31/2011           (INT)     M&I Bank                           INTEREST REC'D FROM BANK                                        1270-000                   $0.24                                      $2,744.35
01/31/2012           (INT)     M&I Bank                           Interest Rate 0.100                                             1270-000                   $0.24                                      $2,744.59
02/29/2012           (INT)     M&I Bank                           Interest Rate 0.100                                             1270-000                   $0.22                                      $2,744.81
03/31/2012           (INT)     M&I Bank                           INTEREST REC'D FROM BANK                                        1270-000                   $0.23                                      $2,745.04
04/30/2012           (INT)     M&I Bank                           Interest Rate 0.100                                             1270-000                   $0.23                                      $2,745.27
05/31/2012           (INT)     M&I Bank                           Interest Rate 0.100                                             1270-000                   $0.24                                      $2,745.51
06/12/2012           (INT)     M&I Bank                           Interest Earned For June 2012                                   1270-000                   $0.08                                      $2,745.59
06/12/2012                     Bank of Texas                      Transfer Funds                                                  9999-000                                      $2,745.59                   $0.00

                                                                                    TOTALS:                                                            $2,745.59                $2,745.59                   $0.00
                                                                                        Less: Bank transfers/CDs                                           $0.00                $2,745.59
                                                                                    Subtotal                                                           $2,745.59                    $0.00
                                                                                        Less: Payments to debtors                                          $0.00                    $0.00
                                                                                    Net                                                                $2,745.59                    $0.00



                     For the period of 8/3/2010 to 7/17/2013                                                  For the entire history of the account between 11/14/2011 to 7/17/2013

                     Total Compensable Receipts:                    $2,745.59                                 Total Compensable Receipts:                                   $2,745.59
                     Total Non-Compensable Receipts:                    $0.00                                 Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                  $2,745.59                                 Total Comp/Non Comp Receipts:                                 $2,745.59
                     Total Internal/Transfer Receipts:                  $0.00                                 Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                   $0.00                                 Total Compensable Disbursements:                                  $0.00
                     Total Non-Compensable Disbursements:               $0.00                                 Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                 $0.00                                 Total Comp/Non Comp Disbursements:                                $0.00
                     Total Internal/Transfer Disbursements:         $2,745.59                                 Total Internal/Transfer Disbursements:                        $2,745.59




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                                                                                        FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         10-24374-YUM EPB                                                                      Trustee Name:                         Lawrence J. Warfield
Case Name:                       REICHMAN, GREGG SETH                                                                  Bank Name:                            M&I Bank
Primary Taxpayer ID #:           ******7716                                                                            Money Market Acct #:                  ******9881
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                        Money Market Account
For Period Beginning:            8/3/2010                                                                              Blanket bond (per case limit):        $82,080,307.00
For Period Ending:               7/17/2013                                                                             Separate bond (if applicable):

      1                 2                                3                                     4                                             5                   6                      7

  Transaction        Check /                         Paid to/          Description of Transaction                       Uniform          Deposit           Disbursement              Balance
     Date             Ref. #                      Received From                                                        Tran Code           $                    $




                                                                                                                                                                     NET                ACCOUNT
                                                                                 TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE               BALANCES

                                                                                                                                          $2,745.59              $2,745.59                      $0.00




                     For the period of 8/3/2010 to 7/17/2013                                        For the entire history of the case between 08/03/2010 to 7/17/2013

                     Total Compensable Receipts:                   $2,745.59                        Total Compensable Receipts:                                 $2,745.59
                     Total Non-Compensable Receipts:                   $0.00                        Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $2,745.59                        Total Comp/Non Comp Receipts:                               $2,745.59
                     Total Internal/Transfer Receipts:             $2,745.59                        Total Internal/Transfer Receipts:                           $2,745.59


                     Total Compensable Disbursements:              $1,617.92                        Total Compensable Disbursements:                            $1,617.92
                     Total Non-Compensable Disbursements:          $1,127.67                        Total Non-Compensable Disbursements:                        $1,127.67
                     Total Comp/Non Comp Disbursements:            $2,745.59                        Total Comp/Non Comp Disbursements:                          $2,745.59
                     Total Internal/Transfer Disbursements:        $2,745.59                        Total Internal/Transfer Disbursements:                      $2,745.59




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